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5
     Attorneys for plaintiff Alfred H. Siegel, solely
6    in his capacity as Trustee of the Circuit City
     Stores, Inc. Liquidating Trust
7

8                                  UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
9                                     SAN FRANCISCO DIVISION
10   In re: CATHODE RAY TUBE (CRT)                                         Master File No. 3:07-CV-5944-SC
     ANTITRUST LITIGATION
11
                                                                           MDL No. 1917
12
     This Document Relates to:
13                                                                         DECLARATION OF BRIAN M.
     Best Buy Co., Inc., et al. v. Technicolor SA, et al.,                 GILLETT IN SUPPORT OF
14   No. 13-cv-05264;                                                      DIRECT ACTION PLAINTIFFS’
                                                                           RESPONSE IN OPPOSITION TO
15   Costco Wholesale Corporation v. Technicolor SA,                       MITSUBISHI ELECTRIC’S
     et al., No. 13-cv-005723;                                             MOTIONS IN LIMINE NOS. 1–3
16
     Crago, d/b/a Dash Computers, Inc. Et al., v.
17   Mitsubishi Electric Corporation, et al., No. 14-cv-
     02058;                                                                The Honorable Samuel Conti
18
     Electrograph Systems, Inc., et. Al. v. Technicolor
19   SA, et al., No. 13-cv-05724;

20   Interbond Coporation of America v. Technicolor
     SA, et al., No. 13-cv-05727;
21
     Office Depot, Inc. v. Technicolor SA, et al., No. 13-
22   cv-05726;

23   P.C. Richard & Son Long Island Corporation, et
     al. v. Technicolor SA, et al., No. 13-cv-05725;
24
     Schultze Agency Services, LLC v. Technicolor SA,
25   et al., No. 13-cv-05668;

26   Sears, Roebuck and Co., et al. v. Technicolor SA, et
     al., No. 13-cv-05262;
27
     Sharp Elecs. Corp. v. Hitachi, Ltd., No. 13-cv-
28   01173;

                 Declaration in Support of Plaintiffs’ Rule 56(d) Supplement to Opposition to Thomson Consumer MSJ and MPSJ
                                                                                  MDL No. 1917, Master File No. 07-cv-5944-SC
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1    Siegel v. Technicolor SA, et al., No. 13-cv-05261;
2    Target Corp., v. Technicolor SA, et al., No. 13-cv-
     05686.
3

4           I, Brian M. Gillett, hereby declare as follows:
5           1.        I am an attorney with the law firm of Susman Godfrey L.L.P., counsel for
6    Plaintiff Alfred H. Siegel, as Trustee of the Circuit City Stores, Inc. Liquidating Trust. I submit
7    this declaration in support of Plaintiffs’ Rule 56(d) Supplement to Opposition to Thomson
8    Consumer’s Motion for Summary Judgment and Partial Summary Judgment. Except as to those
9    matters based on information and belief, which I believe to be true, I have personal knowledge of
10   the facts stated herein, and could and would competently testify thereto if called as a witness.
11          2.        Attached hereto as Exhibit A is a true and correct copy of the Amended Plea
12   Agreement between the United States of America and Samsung SDI Company, Ltd., from Case
13   No. 3:11-CR-00162-WHA, in the United States District Court for the Northern District of
14   California, filed May 17, 2011.
15          3.        Attached hereto as Exhibit B is a true and correct copy of the Interim Order of the
16   Special Master- SDI Motion for Protective Order, dated September 15, 2014.
17

18          I declare under penalty of perjury that the foregoing is true and correct.
19

20          Executed this 27th day of February, 2015, at Houston, Texas.
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22
                                                                     /s/ Brian M. Gillett
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                                                                     Brian M. Gillett
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                                                               2
                 Declaration in Support of Plaintiffs’ Rule 56(d) Supplement To Opposition to Thomson Consumer MSJ and MPSJ
                                                                                         MDL No. 1917, Case No. 07-cv-5944-SC
